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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )         4:08CR3177
                                      )
     v.                               )
                                      )
JOHN HENRY SUTTON,                    )   MEMORANDUM AND ORDER
                                      )
     Defendant.                       )



     A hearing was held before me this date on allegations made
in the petition for action on conditions of pretrial release,
filing no. 43.     The defendant was present with counsel, and was
advised of his rights.     The defendant admitted the allegations in
the petition.     I therefore find that the allegations of the
petition are true.


     Regarding disposition, the government requested detention.
Defendant had no alternative plan for release, so did not contest
detention.   I find that detention is appropriate under the
circumstances.


     IT THEREFORE HEREBY IS ORDERED,

     The previous order of release, filing no. 36, is revoked,
and the defendant shall be detained in the custody of the United
States Marshal until further order of the court.


     Dated March 3, 2009.

                                    BY THE COURT


                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
